 Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 1 of 17 PageID #:9118




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH,                              Case No. 19-cr-00669
MICHAEL NOWAK,
                                          Hon. Edmond E. Chang
JEFFREY RUFFO, and
CHRISTOPHER JORDAN,

                 Defendants.



  DEFENDANT GREGG SMITH’S MEMORANDUM OF LAW IN SUPPORT OF
  MOTION TO RECONSIDER ORDER ADMITTING OPINION TESTIMONY OF
               ARMAND NAKKAB AND BRIAN WIKA




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  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 2 of 17 PageID #:9119




                                 PRELIMINARY STATEMENT

       If the government has its way, Brian Wika and Armand Nakkab will be two of six different

witnesses (along with another expert, Professor Kumar Venkataraman, and three cooperating

witnesses, John Edmonds, Christiaan Trunz, and Corey Flaum) to testify that, in their opinion, Mr.

Smith spoofed. Wika’s and Nakkab’s Smith-was-spoofing opinions should be excluded on this

basis alone. Indeed, as the Court noted in its June 2 order on the admissibility of Mr. Smith’s

opinion testimony (the “Order,” Dkt. No. 524), Rule 403 generally requires that expert testimony

be permitted “without duplication, unless” there is “a specific explanation why duplication is

warranted.” (Order at 8.)

       The same standard must be applied to the government’s opinion witnesses. Here, the

opinions to be offered by both witnesses simply duplicate Professor Venkataraman’s proffered

opinion on the same issue (whether Mr. Smith spoofed) and, indeed, use the very same approach

(a retrospective analysis of historical trading data). Permitting both witnesses to testify in addition

to Professor Venkataraman would run afoul of Rule 403 and this District’s precedents, which

prohibit serial recitations of the same opinion by multiple witnesses. In addition to ensuring orderly

and efficient trials, this rule guards against “the unfair possibility that the jurors will resolve

competing expert testimony by ‘counting heads’ rather than valuating the quality and credibility

of the testimony.” Sunstar, Inc. v. Alberto-Culver Co., No. 01 C 736, 2004 WL 1899927, at *25

(N.D. Ill. Aug. 23, 2004).

       It would be manifestly unfair to allow the government to turn the trial into this kind of

numbers game by calling multiple experts to opine on the same conclusion while, at the same time,

ordering Mr. Smith to limit his defense to a single expert opinion on any one issue. (Order at 8.)

       The testimony further should be excluded because:



                                                  1
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 3 of 17 PageID #:9120




            •   Wika’s opinion is based on an after-the-fact review of trading data—just like the
                one conducted by the government’s retained expert, Professor Kumar
                Venkataraman—and thus cannot be admitted as lay opinion, which must be
                “rationally based on the witness’s perception” and may not be “based on scientific,
                technical, or other specialized knowledge within the scope of Rule 702.” Fed. R.
                Evid. 701.
            •   As Wika’s own report detailing his methodology makes clear, his opinion is
                infected by confirmation bias and therefore inadmissible under Rule 702 and
                Daubert.
            •   Nakkab’s “expert” opinion—which the government wants to use not to “help the
                trier of fact” (see Fed. R. Evid. 702(a)) but to render useless the exculpatory force
                of Nakkab’s starkly different real-time conclusions—must likewise be excluded
                under Rule 702 and Daubert, both because it is supported by no discernible
                methodology at all and because it purports to identify “patterns” across statistically
                unrepresentative trading data cherry-picked by the government.

        On these grounds, Mr. Smith respectfully urges the Court to reconsider its ruling on the

admissibility of Wika’s and Nakkab’s retrospective analyses of Mr. Smith’s trading data. At a

minimum, the Court should permit counsel for Mr. Smith to voir dire those witnesses outside the

presence of the jury before their opinions are offered into evidence.

                                          BACKGROUND

        Brian Wika. If the Court allows Wika, an analyst in the market regulation division of the

Chicago Mercantile Exchange (the “CME”), to testify on the grounds set forth in the Court’s June

2 Order, it will do something no other court presiding over a spoofing trial has done: admit

testimony about the intent with which a trader placed particular orders, based solely on a years-

later, after-the-fact review of trading data, as “lay opinions.” (Order at 5.) In another spoofing trial

conducted last year, Judge Lee ruled that “such testimony crosses the line between lay opinion

testimony under Rule 701 and [into] expert opinion testimony under Rule 702.” Order (Dkt. No.

602, cited as “Bases Pretr. Order”), United States v. Bases, 18-CR-48 (N.D. Ill. July 15, 2021).

        Judge Lee’s approach is consistent with scholarship on the statistical analysis of market

manipulation, which has long recognized the inherent difficulty and complexity in drawing


                                                   2
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 4 of 17 PageID #:9121




inferences of subjective intent based entirely on trading data. See Eun Jung Lee, et al.,

Microstructure-based manipulation: Strategic behavior and performance of spoofing traders, 16

J. of Fin. Mkts. 227, 232 (2013) (“In empirical analysis, it is impossible to know with certainty a

trader’s intent in placing any given order.”). This is even more problematic in the case of spoofing,

where “[t]he inherent difficulty in proving [criminal] intent” is compounded by the high incidence

of legitimate trade cancellations. Catriona Coppler, The Anti-Spoofing Statute: Vague as Applied

to the “Hypothetically Legitimate Trader”, 5 Am. U. Bus. L. Rev. 261, 264 (2016); see also Xuan

Tao, et al., On detecting spoofing strategies in high-frequency trading, Quantitative Finance

(2022) at 1–2 (“[I]t is unclear how a spoofing strategy differs quantitatively from other strategies

. . . thus, the complexity of quantifying and discriminating spoofing strategies from legitimate

ones.”). The Court should not entrust this complex task to a lay witness.

       Although the Court has indicated that Wika may testify in a lay capacity about his

“perceptions of” Defendant Gregg Smith’s “trading activity” (Order at 5), Wika’s knowledge of

Mr. Smith’s trading is no more percipient than that of various retained experts who will opine on

the same issue. (Defs.’ Mem. of Law in Supp. of Joint Mot. to Exclude Expert Test. (Dkt. No. 334,

cited as “Defs.’ Br.”) at 5–6.) Like those experts, Wika conducted a retrospective analysis of

trading activity long after that activity happened, relying on historical data recorded by COMEX,

the CME’s electronic trading platform. He is no more competent to testify about that trading in a

lay capacity than the experts who reviewed the same data for purposes of this case—which,

presumably, is why the government first disclosed him as an expert witness, only to change course

when Defendants challenged the reliability of his methodology under Rule 702 and Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). (See Gov’t Expert Disclosures (Dkt.

No. 331-2) at 6–7; Defs.’ Reply Mem. of Law in Supp. of Joint Mot. to Exclude Test. (Dkt. No.



                                                 3
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 5 of 17 PageID #:9122




427) at 1, 9–10.) And because Wika’s methodology is demonstrably unreliable, his opinions on

Mr. Smith’s trading are not admissible under that framework, either.

       Armand Nakkab. While Nakkab was at JPMorgan, he oversaw a thorough compliance-

department review that found no issues with Smith’s trading and came to the conclusion that he

did not spoof. (Nakkab 302 (Dkt. No. 330-1) at 10–11.) Moreover, shortly after the CME

interview, Eugene Ferrara—whom Nakkab describes as his “second in command” (id. at 6)—

touted the compliance department’s satisfaction with Mr. Smith’s trading at a groupwide

compliance meeting, announcing to the entire Global Commodities Group that the department had

concluded that Mr. Smith’s trading was acceptable because his “intention was to trade every single

bid and offer.” (See GX 165 at 3.)

       Six years later—and only after the government told Nakkab that he was also a subject of

its spoofing investigation—he abruptly changed his tune. It was not until then that, for the first

time, Nakkab came to the view that certain trading sequences, all of which were cherry-picked and

presented to Nakkab by the government, demonstrated a “pattern” which he found “extremely

problematic.” (Nakkab Grand Jury Test. (Dkt. No. 330-2) at 64–65.) It is this retrospective analysis

that the government now intends to introduce as Nakkab’s “expert” opinion on those trading

sequences.

       But Nakkab’s “analysis” does not pass Daubert muster. Although the Order mentions

Nakkab’s credentials, “possessing requisite credentials alone is not enough to render expert

testimony admissible.” Fuesting v. Zimmer, Inc., 421 F.3d 528, 535 (7th Cir. 2005), vacated on

other grounds, 448 F.3d 936 (7th Cir. 2006). “The district court must also, in keeping with its

gatekeeper’s duty, assess the reliability of the methodology the expert has employed in arriving at

his opinion.” Id. (emphasis in original). Nakkab’s opinions are not based on any identifiable



                                                 4
     Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 6 of 17 PageID #:9123




methodology; according to the materials disclosed by the government, his analysis apparently

consisted of nothing more than reviewing the government’s hand-selected episodes and concluding

that they exhibit a “pattern” which he found “problematic.” Worse yet, the data set across which

Nakkab claims to have observed this troubling “pattern” was the product of gross selection bias.

Thus, Nakkab’s retrospective opinions on Mr. Smith’s trading are not admissible as expert

testimony and must be excluded. If the government is permitted to present this sort of retrospective

analysis at all, it should be required to do so through Professor Venkataraman alone.

                                              ARGUMENT

I.        Allowing the government to call multiple witnesses to provide the same opinion
          violates Federal Rule of Evidence 403 and established precedent in this District.

          The Government has indicated its intention to call six separate witness to offer the exact

same opinion: that Mr. Smith was engaged in spoofing 1—i.e., that he placed orders with an

unconditional intent to cancel them before execution:

          •   John Edmonds is a former precious metals trader who worked with Mr. Smith and is
              expected to opine, as a lay witness, that Mr. Smith spoofed.
          •   Christiaan Trunz is a former precious metals trader who worked with Mr. Smith and
              is expected to opine, as a lay witness, that Mr. Smith spoofed.
          •   Corey Flaum is a former precious metals trader who worked with Mr. Smith and is
              expected to opine, as a lay witness, that Mr. Smith spoofed.
          •   Brian Wika, a CME analyst, will be allowed to testify as a lay witness that “Mr. Smith
              spoofed many times,” and that his trading activity was “clearly” in violation of CME
              rules that prohibited spoofing and market manipulation. (Gov’t Expert Disclosures at
              4; see also Order at 5.)

1
     The government has proffered that these witnesses will testify that, in their opinions, Mr. Smith
     spoofed. This plainly violates Rule 704(b), which makes clear that whether a criminal defendant
     “ha[d] a mental state or condition that constitutes an element of the crime charged” is a matter
     “for the trier of fact alone.” At most, a witness that is permitted to opine on the intent with which
     Mr. Smith placed certain orders should be limited to testifying about whether Mr. Smith’s trading
     is consistent with an intent to cancel particular orders before execution—or, conversely, with
     some other motive or strategy.



                                                     5
    Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 7 of 17 PageID #:9124




         •   Armand Nakkab, a former JPMorgan compliance officer, will be allowed to testify as
             an expert witness that Mr. Smith’s trading in certain data he reviewed with the
             Government “does not reflect an intent to trade all the orders he placed”—in other
             words, that Mr. Smith spoofed. (Gov’t Expert Disclosures at 14; see also Order at 4.)
         •   Kumar Venkataraman, the government’s retained expert, will be allowed to testify
             that Defendants’ activity “is inconsistent with an intent to execute and consistent with
             an intent to cancel [before execution]”—in other words, that Mr. Smith spoofed. (Order
             at 6; see also Gov’t Expert Disclosures at 12.)

The unfair prejudice caused by this needlessly cumulative evidence is reason alone to exclude

Nakkab’s and Wika’s opinions under Federal Rule of Evidence 403. 2

         As this Court has recognized, it is well established in this district that parties are generally

prohibited under Rule 403 from “present[ing] more than one expert to testify on the same topics.”

Order at 8; see also, e.g., Sunstar, 2004 WL 1899927, at *25; Hall v. Hall, No. 14 C 6308, 2018

WL 1695365, at *4–5 (N.D. Ill. Apr. 7, 2018); In re Testosterone Replacement Therapy Prods.

Liab. Litig. Coordination Pretrial Proceedings, No. 14 C 1748, 2018 WL 1316724, at *2 (N.D.

Ill. Mar. 14, 2018). Not only is it “a waste of time and needlessly cumulative” to have multiple

witnesses offer uniform opinions on the same subject; it also “raises the unfair possibility that the

jurors will resolve competing expert testimony by ‘counting heads’ rather than valuating the

quality and credibility of the testimony.” Sunstar, 2004 WL 1899927, at *25; see also Kaepplinger

v. Michelotti, No. 17 CV 5847, 2022 WL 267886, at *4 (N.D. Ill. Jan. 28, 2022). Nor does it matter

that some of the cumulative opinions to be offered are from lay witnesses. See, e.g., Hall, 2018

WL 1695365, at *5 (noting that, in assessing cumulativeness of expert witness opinions, court


2
    As of the date of this filing, both the Government’s Motion for Preliminary Admission of Co-
    Conspirator Statements (Dkt. No. 294) and the Government’s Motion to Admit Lay Opinion
    Testimony (Dkt. No. 317) are still pending. The arguments raised here apply with equal force to
    these cooperators in addition to the reasons stated in Defendants’ opposition briefs (Dkt. Nos.
    358, 363, 364, 369). As such, these cooperators should be precluded from offering their opinions
    about Mr. Smith’s trading.



                                                    6
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 8 of 17 PageID #:9125




must also consider whether party intends to offer lay witness opinion on same issue). The risk of

prejudice is particularly acute here, where the Court has ordered Mr. Smith to present just one

opinion on the same issue. (Order at 8.)

       In addition to his experts, Mr. Smith is aware of—but thus far has been denied access to—

at least two other witnesses whose opinions would rebut the false impression of unanimity

conveyed by the government’s litany of opinion witnesses. First, one or more witnesses from

JPMorgan conducted their own contemporaneous analyses of Mr. Smith’s trading that caused it to

conclude that he was not spoofing. Second, an economist retained by the CFTC, Professor Henrik

Bessembinder, also concluded that Mr. Smith’s trading was inconsistent with spoofing. (Order at

8; Smith Mot. to Compel (Dkt. No. 518); Order Granting Mot. to Quash (Dkt. No. 191).) Yet both

JPMorgan and the CFTC have asserted privilege over these analyses, and, in the case of Professor

Bessembinder, the Court has upheld the CFTC’s claim. Against this backdrop, it would be

fundamentally unfair to allow the Government to offer the inverse opinion from six different

witnesses. The risk of harm when the number of opinion witnesses is so lopsided—especially

where, as here, that imbalance conceals a genuine lack of consensus among experts who have

looked at the issue—“significantly outweighs the probative value of the duplicative or cumulative

evidence.” In re Testosterone, 2018 WL 1316724, at *2.

       That some of the Government’s anticipated witnesses may have arrived at their ultimate

conclusion that Mr. Smith was spoofing “in different ways and from different perspectives” is

irrelevant, because “whether or not the [witnesses] have different perspectives does not diminish

the fact that [the Government] propose[s] to call [multiple] experts who will render essentially the

same opinions.” Kaepplinger, 2022 WL 267886, at *6 (prohibiting two doctors with different

credentials, perspectives, and specialties from testifying about the standard of care in a medical



                                                 7
      Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 9 of 17 PageID #:9126




malpractice case). For example, in In re Testosterone Replacement Therapy, the court prohibited

a party from offering cumulative expert testimony on the issue of causation, even where those

opinions came from the very different perspectives of a cardiologist, a urologist, an FDA scientist,

and a statistician. 2018 WL 1316724, at *1. The court, recognizing that “as a matter of trial

strategy, it is more advantageous to have two experts from different fields interpret and assess a

body of evidence,” nonetheless held that this many witnesses providing testimony on the subject

of general causation “amounts to the needless presentation of cumulative evidence.” Id. at *2–3.

Similarly here, though some of the Government’s witnesses may have arrived at their respective

opinions in different ways, their opinions still needlessly cumulate to the unfair prejudice of Mr.

Smith, who has been limited to just one witness on the issue, both by the Order and by the fact that

the exculpatory opinions of other witnesses are being hidden behind claims of privilege.

          This alone is grounds to exclude the proffered opinions of Nakkab and Wika. And by doing

so, the Court can avoid a number of other significant problems with their testimony, all of which

would unfairly prejudice Mr. Smith and violate his rights to due process and a fair trial.

II.       Wika’s opinion testimony is inadmissible.

          A. Wika’s opinions about Mr. Smith’s trading, like Nakkab’s, are not admissible as
             lay opinion testimony.

          Federal Rule of Evidence 701 sets forth three requirements, all of which must be satisfied

for testimony to be admissible as lay opinion and therefore exempt from the heightened scrutiny

applied to expert testimony. In its Order, the Court focuses on the last of those three

requirements—that the testimony not be “based on scientific, technical, or other specialized

knowledge within the scope of Rule 702”—the application of which, as the Court correctly noted,

is “not always crystal clear.” (Order at 3 (analyzing Fed. R. Evid. 701(c).) But Rule 701’s first

requirement—that lay opinion testimony be “rationally based on the witness’s perception”—is


                                                  8
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 10 of 17 PageID #:9127




equally important. Fed R. Evid. 701(a). By requiring that lay opinions be “tethered to perception,

to what the witness saw or heard,” Rule 701(a) ensures that only “expert witnesses . . . are permitted

to testify to matters of which they lack personal knowledge.” United States v. Santos, 201 F.3d

953, 963 (7th Cir. 2000).

       Applying this first requirement, the Court drew a reasoned distinction between two types

of anticipated testimony from Nakkab. The Order discusses at length Nakkab’s capacity to testify

about his “direct interaction with the Defendants and his knowledge of their trading activity (as

reported to him), as well as his direct knowledge of JPMorgan’s compliance policies.” (Order at

3.) But as the Court recognized, none of this background knowledge enables Nakkab to offer as

lay opinion his views on “approximately 50 examples” of Mr. Smith’s trading activity that Nakkab

claims not to have known about while working at JPMorgan. (Order at 4.) In addition to

“requir[ing] his extensive experience and knowledge” (id.), Nakkab’s retrospective analysis of Mr.

Smith’s trading expressly disclaims any grounding in his firsthand perception of the trading at

issue. (Id.) The Court correctly concluded that this analysis, which it referred to as Nakkab’s “post-

events-review testimony,” must be analyzed as expert opinion under Rule 702. (Id.)

       There is no basis to treat Wika’s “post-events-review testimony” any differently than

Nakkab’s. Both witnesses’ anticipated testimony is based on a retrospective analysis of years-old

trading data, not on firsthand or otherwise contemporaneous knowledge of Mr. Smith’s trading.

Both witnesses purport to analyze that trading data in a manner requiring highly specialized

expertise. Thus, both witnesses must meet the requirements of Rule 702 and Daubert, just like

Professor Venkataraman. In all cases, those witness’s opinions flow entirely from an after-the-fact

review of electronic orders that the witnesses did not observe or take part in placing.




                                                  9
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 11 of 17 PageID #:9128




       Respectfully, the Court’s comparison of Wika to “a business officer who is permitted to

offer lay opinion testimony of the value of a business” (Order at 3) is misplaced. As the 2000

Advisory Committee’s Note to Rule 701 explains, the basis for admission in that circumstance is

the witness’s “knowledge and participation in the day-to-day affairs of the business” he is valuing.

Fed. R. Evid. 701 Advisory Comm. Note (2000 Amend.) (citing Lightning Lube, Inc. v. Witco

Corp., 4 F.3d 1153 (3d Cir. 1993)). Wika has no analogous “knowledge” of or “participation” in

Mr. Smith’s trading that would allow him to characterize it as spoofing in the same way that a

business owner might be able to intuitively value his own enterprise. Quite the opposite: the

position from which Wika reviewed the trading on which he bases his Smith-was-spoofing

opinions is more akin to that of an outside accountant or appraiser using specialized knowledge

and methods to opine on the value of a business with which they are not personally familiar—

which, as the Advisory Committee made clear, is expert testimony. Id.

       What is more, even if Wika had personal knowledge of Smith’s trading on which to ground

his opinions, those opinions still would be inadmissible as lay testimony because they plainly

require “technical” or “specialized knowledge within the scope of Rule 702.” Fed. R. Evid. 701(c).

There is no “process of reasoning familiar in everyday life” that would enable a person to

understand and analyze records of trading data generated by an electronic futures market—much

less to discern, based on that analysis, the intent with which certain orders were placed. See Fed.

R. Evid. 701 Advisory Comm. Note (2000 Amend.) (comparing lay witness testimony “that a

substance appeared to be blood” with expert witness testimony “that bruising around the eyes is

indicative of skull trauma”). To the contrary, inferring intent from trading data alone is a highly

technical undertaking. See, e.g., Tao, supra, at 1–2 (“[I]t is unclear how a spoofing strategy differs




                                                 10
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 12 of 17 PageID #:9129




quantitatively from other strategies . . . thus, the complexity of quantifying and discriminating

spoofing strategies from legitimate ones.”).

       This is precisely why, in a similar spoofing trial conducted last year, Judge Lee held that a

cooperating witness could not review “trading episodes in which he was not personally involved”

and then “confirm,” under the guise of offering a lay opinion, that those episodes “are consistent

with the trading practice” employed by the alleged conspiracy—or, more simply put, that they

were examples of spoofing. Bases Pretr. Order at 9–10. As Judge Lee explained, this type of

analysis is not remotely comparable to lay opinion testimony admitted in other cases, where the

inferential leap between the observed facts and the witness’s opinions are “well within the

everyday capabilities of a layperson.” Id. at 10. On that basis, Judge Lee concluded that “such

testimony crosses the line between lay opinion testimony under Rule 701 and [into] expert opinion

testimony under Rule 702.” Id. (collecting cases). Judge Lee also noted that, “to the extent that

such testimony . . . were admissible under Rule 701,” he would nonetheless have excluded it

“because (1) it would have minimally probative value (given that [the witness] has no personal

knowledge of the trades), and (2) to the extent that it would have any probative value, its probative

value would be substantially outweighed by the unfair prejudice to Defendants and, therefore,

inadmissible under Rule 403.” Id. at 10–11. This Court should do so for the same reasons.

       B. Wika’s opinions about Mr. Smith’s trading are not admissible as expert testimony
          because they are grounded in an unreliable methodology.

       The standard set forth in Rule 702 and Daubert requires, among other things, that expert

testimony be based on sound reasoning or methodology. Ervin v. Johnson & Johnson, Inc., 492

F.3d 901, 904 (7th Cir. 2007). The methodology underlying Wika’s retrospective analysis is set




                                                 11
    Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 13 of 17 PageID #:9130




forth in a June 2015 report memorializing his retrospective analysis of Mr. Smith’s trading. (See

GX 228.)3

         Wika’s report confirms that his analysis suffers from confirmation bias. Indeed, the report

makes no effort to hide this: by his own admission, Wika starts with the assumption that certain

orders placed by Mr. Smith were spoofs and then works backwards. After describing nothing

except the order placement and timing in two “specific instances” of Mr. Smith’s trading—both

from the same day (July 1, 2013), and approximately 10 minutes apart from each other—Wika

writes of these two examples that “the resting iceberg orders are considered intended orders while

the 10-lot orders on the opposite side of the market are considered successful spoof orders.” (Id.

at 5.) Whatever the field of inquiry or object of analysis, it is axiomatic that a reliable methodology

does not assume the truth of the conclusion it purports to prove. That Wika’s report violates this

basic principle of analytical rigor requires its exclusion under Daubert. See, e.g., Barbara O’Brien,

Prime Suspect: An Examination of Factors That Aggravate and Counteract Confirmation Bias in

Criminal Investigations, 15 Psychol. Pub. Pol’y & L. 315, 316–17 (2009) (explaining that

confirmation bias “can undermine accuracy” in criminal investigations by, among other things,

causing relevant alternative explanations to be discarded); Richard A. Posner, How Judges Think

(2008) at 110–11 (defining confirmation bias as the “well-documented tendency once one has

made up one’s mind, to search harder for evidence that confirms rather than contradicts one’s

initial judgment.”).

         In addition, while Wika’s report makes much of the speed with which Mr. Smith cancels

his “large orders” (GX 228 at 5)—that is, those orders Wika begins his analysis by assuming to be


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    As the Court is aware, the admissibility of this report is the subject of a separate dispute. The
    parties are due to file submissions on that issue by June 10.



                                                  12
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 14 of 17 PageID #:9131




spoofs—his report contains no data on marketwide cancellation speeds to which Mr. Smith’s

cancellations could be compared. Accordingly, while relying heavily on the intermediate

conclusion that Mr. Smith’s cancellations were “rapid[]” or “immediate[]” (id. at 2), Mr. Wika

presents no basis on which to determine whether those cancellations are in fact “rapid” as measured

against the entire market.

       Wika’s report also purports to analyze the economic impact of Mr. Smith’s trading. (Id. at

8–9.) Even if this portion of his report were relevant (it is not), it too runs afoul of Daubert by

relying on untested assumptions of causation. See Ervin, 492 F.3d 901, 904 (affirming exclusion

of physician’s diagnosis where based on “mere existence of a temporal relationship between”

purported cause and effect, and where physician “was not able to articulate any scientifically

physiological explanation” supporting diagnosis). Specifically, Wika’s “market disruption”

analysis simply presumes that, in every instance in which Mr. Smith had a “small” or “iceberg”

order filled after placing a “large” order on the opposite side, the counterparty to his filled order

would not have accepted Mr. Smith’s bid or offer, thus crossing the bid-ask spread, but for the

presence of Mr. Smith’s orders on the opposite side. (GX 228 at 8–9.) Wika’s analysis provides

no justification for this bare assumption of causation; indeed, Wika himself describes this impact

only as the “potential disruptive value” of orders that “may have resulted in some participants

acting on [the] imbalance” created by Mr. Smith’s trading. (Id. at 7, 8 (emphases added).) Taken

together with the other flaws in Wika’s methodology, this analytical shortcut renders his opinions

inadmissible. If the Court is not inclined to exclude it altogether on that basis, it should at least

permit counsel for Mr. Smith to test the reliability of Wika’s methodology through a voir dire.




                                                 13
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 15 of 17 PageID #:9132




III.   Nakkab’s retrospective opinions on the 50 trading episodes selected by the
       government are inadmissible because the government has not disclosed the
       “methodology” that Nakkab used to form those opinions.

       The proponent of expert testimony has the burden of demonstrating that the prerequisites

set forth by Rule 702 and Daubert are satisfied. Lewis v. CITGO Petroleum Corp., 561 F.3d 698,

705 (7th Cir. 2009). But the government has not provided any description of the methodology

employed by Nakkab in analyzing the roughly 50 new episodes of Smith’s trading. Rather,

Nakkab’s interview with the FBI and grand jury testimony show that—after being confronted as a

subject of the government’s spoofing investigation—Nakkab simply reversed course, disavowing

the previous stamp of approval he gave to Mr. Smith’s trading after his department’s thorough

review in 2013, and claiming instead that episodes spoon-fed to him by the government displayed

a “pattern” that was “extremely problematic.” (Nakkab Grand Jury Test. at 64–65.) Neither the

government nor Nakkab has described the salient characteristics of this supposed “pattern,” the

reasons Nakkab believes those characteristics matter, or the basis for his conclusions about trading

sequences fitting that pattern. The government’s failure to adequately articulate a methodology

supporting Nakkab’s expert opinions—much less one that is generally accepted or otherwise

reliable—is fatal to the admissibility of those opinions under Rule 702 and Daubert.

       Moreover, it is well recognized in statistical literature that observations of a “pattern”

across a sample of data are only valid if the sample accurately represents the data as a whole. See,

e.g., Peter Bruce, et al., Practical Statistics for Data Scientists (2d ed. 2020) at 54 (distinguishing

between statistically sound practice of “specify[ing] a hypothesis and conduct a well-designed

experiment to test it” and unreliable practice of “look[ing] at available data and tr[ying] to discern

patterns”). Indeed, Professor Venkataraman testified in a prior spoofing trial that his examination

of trading episodes selectively provided to him by the government was only sound because he

compared them with all trading by the Defendants “over [a] five-year period, and . . . looked at all

                                                  14
  Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 16 of 17 PageID #:9133




the resting orders that were submitted at the top five levels and examined all the resting iceberg

orders.” Sept. 18, 2020 Trial Tr. at 1519, United States v. Vorley, No. 18 CR 35 (N.D. Ill.)

(emphases added). Nakkab, by contrast, has done nothing to counteract the government’s cherry-

picking of data favorable to its case. Accordingly, his opinions about “patterns” that emerge from

that nonrepresentative data set are unsound and should be excluded.

IV.    At a minimum, the Court should permit Mr. Smith to test the foundation for
       Nakkab’s and Wika’s opinions about Mr. Smith’s trading, before those opinions are
       offered into evidence, through a voir dire conducted outside the presence of the jury.

       In United States v. Godinez, 7 F.4th 628 (2021), the Seventh Circuit recently reaffirmed

the principle that trial courts have discretion to determine the propriety of a Daubert hearing prior

to the admission of expert testimony at trial. Id. at 637. Godinez makes equally clear, however,

that this discretion is bounded, holding that the district court in that case abused its discretion in

denying a Daubert hearing where “the evidence admitted at trial implicated” the “methodology”

at issue, and “[c]riticism of that methodology formed part of the defense,” meriting “a more

thorough exploration by the district court.” Id. at 638.

       As discussed above, Mr. Smith intends to defend the charges against him in part by

challenging the methodology employed by Nakkab, Wika, and other expert witnesses proffered by

the government. If the Court will not exclude Nakkab’s and Wika’s opinions about Mr. Smith’s

trading outright, it should, at a minimum, permit Mr. Smith’s counsel to conduct a voir dire of

both witnesses outside the presence of the jury.

                                          CONCLUSION

       For the foregoing reasons, Defendant Gregg Smith respectfully requests that the Court

reconsider its ruling on the admissibility of Nakkab’s and Wika’s retrospective analyses of Mr.

Smith’s trading and preclude Nakkab and Wika from presenting those analyses to the jury, whether

as lay or expert opinion.

                                                   15
Case: 1:19-cr-00669 Document #: 539 Filed: 06/09/22 Page 17 of 17 PageID #:9134




    Dated: June 9, 2022

                                    Respectfully submitted,


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                                      16
